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                     Exhibit 47
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                                            TRANSGENDER POLICY

                                      WVSSAC BOARD OF DIRECTORS

         ln the event a member school, or its governing authority, determines to permit transgender students
to participate in interscholastic athletics, the V/VSSAC has adopted the following policy to govern such
participation:
                                                             L
                                                        Definitions

Transgender Student - a student whose gender identity differs from the student's assigned sex at birth.

Gender ldentity - a person's deeply-felt internal sense of being male or female.

                                                  il.
                                    WVSSAC Transgender Student Policy

        ATransgender Student shall be eligible to participate in interscholastic athletics in a manner consistent
with a member school policy that meets the minimum standards designated by the WVSSAC Board of
Directors policy.

        The WVSSAC Board of Directors has designated the following as the minimum standards a member
school must consider when determining whether a transgender student may participate in interscholastic
athletics in a particular sport. A separate determination shall be made by the member school for each sport
in which the student seeks to participate.

    1. The transgender student's school shall make the initial determination as to whether a student may
         participate in interscholastic athletics in a gender that does not match the gender assigned to him or
         her at birth. When determining whether a transgender student is eligible to participate in
         interscholastic athletics in a manner consistent with the student's gender identity a member school
         must consider the following:
                             a. Whether the student is a "transgender student" as determined based upon
                                applicable regulations and policies of the member school or its governing
                                authority.
                             b. Whether the student meets all applicable academic and enrollment eligibility
                                requirements.
                             c. Whether fair competition among high school teams would be impacted by the
                                student's participation.
    2. The determination of a student's gender assignment for interscholastic athletics shall remain in
        effect for the duration of the student's high school eligibility.
    3. Any member school may appeal the eligibility of a transgender student on the grounds that the
        student's participation in interscholastic athletics would adversely affect competitive equity or safety
        of teammates or opposing players.
             a. Any such appeal will be heard by the WVSSAC Board of Directors.
             b. The identity of the student shall remain confidential. All discussion and documentation will
                    be kept confidential and the proceedings will also be confidential unless the student and
                    family make a specific request otherwise.
             c. The WVSSAC Board of Directors will not consider whether the school has properly determined
                    the student's sex assignment. The board's deliberations will be limited to the question of
                    whether the transgender student represents a threat to competitive equity or the safety of
                    teammates or opposing players. Factors to be considered will include, but not be limited to,
                    the age of the student; the athletic experience of the student; the degree to which the
                    student presents a risk of harm to other competitors due to his or her strength, size, or
                    speed; the nature of the sport; and the degree to which fair competition among high school
                    teams would be impacted by the student's participation.

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